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     Attorney for KIA MOORE,
6    Defendant
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8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                    No. 2:13-CR-00309-JAM
12
                       Plaintiff,
13
           v.                                   STIPULATION AND ORDER ADDING
14                                              SPECIAL CONDITION OF SUPERVISED
     KIA MOORE,                                 RELEASE
15
                       Defendants.
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           It is hereby stipulated and agreed by and between the parties hereto, through
19
     their respective counsel, and as requested by the probation officer, that the following
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     additional condition shall be added to the special conditions of supervised release
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     imposed by this Court on October 28, 2014:
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                13. As directed by the probation officer, the defendant shall participate in a
23
                program of outpatient mental health treatment.
24

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26
     Dated: March 5, 2015                             /s/ Candace A. Fry
27                                                    CANDACE A. FRY, Attorney for
                                                      KIA MOORE, Defendant
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       Case 2:13-cr-00309-JAM Document 85 Filed 03/06/15 Page 2 of 2


1    Dated: March 5, 2015                      BENJAMIN B. WAGNER,
                                               United States Attorney
2

3
                                               By /s/ Candace A. Fry for
4                                              MATTHEW M. YELOVICH,
                                               Assistant United States Attorney
5
                                               (Signed for Mr. Yelovich with his prior
6                                              Authorization)
7

8
                                       ORDER
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10
                 IT IS SO ORDERED.
11
                 Dated: 3/6/2015
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13                                 /s/ John A. Mendez_____________________
                                   JOHN A. MENDEZ
14
                                   UNITED STATES DISTRICT COURT JUDGE
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